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                                          In the

             United States Court of Appeals
                           For the Seventh Circuit

            Nos. 11-1811 & 11-1959

            W EST B END M UTUAL INSURANCE C OMPANY,
                                                              Plaintiff-Appellant,
                                                                  Cross-Appellee,
                                              v.



            B ELMONT S TATE C ORPORATION, et al.,

                                                                        Defendants,
                                             and


            B ANCO P OPULAR N ORTH A MERICA,

                                                            Respondent-Appellee,
                                                                Cross-Appellant.


                        Appeals from the United States District Court
                    for the Northern District of Illinois, Eastern Division.
                             No. 09 C 354—Amy J. St. Eve, Judge.



                A RGUED S EPTEMBER 6, 2012—D ECIDED M ARCH 19, 2013
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             Before EASTERBROOK, Chief     Judge, and   FLAUM and
            WILLIAMS, Circuit Judges.
              E ASTERBROOK, Chief Judge. Belmont State Corp. did not
            pay subcontractors and suppliers for work and materials
            on some projects. Jan Gad, its CEO, is on the lam.
            West Bend Mutual Insurance Co. laid out more than
            $2 million to satisfy Belmont’s obligations and has a
            judgment for that amount against Belmont, Gad, and
            Mark Gizynski. This appeal presents several questions
            arising from West Bend’s effort to recover some of the
            $2 million from Banco Popular, where Gizynski had
            an account.
              Gizynski signed checks for more than $100,000 on
            Belmont’s account at U.S. Bank. The checks were
            payable to Banco Popular (the Bank). Gizynski told it
            to apply the funds to his outstanding loan. He had bor-
            rowed on the security of some commercial real estate; it
            had both a mortgage and an assignment of the rents.
            Belmont was among Gizynski’s tenants; the Bank
            knew this from a lease in its files. So it did not become
            suspicious when Gizynski told it to route money from
            Belmont to the balance of the mortgage loan, and it
            did not ask Belmont how the funds were to be ap-
            plied—even though the Bank, not Gizynski, was the
            payee on the checks.
              Illinois law, which controls all of the issues in this
            diversity litigation, requires banks named as payees to
            ask the drawer how funds are to be applied; they cannot
            just take the word of whoever has the checks in his pos-
            session. See Mutual Service Casualty Insurance Co. v.
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            Elizabeth State Bank, 265 F.3d 601 (7th Cir. 2001) (Illinois
            law). The Bank did not ask Belmont, and West Bend
            wants it to restore the funds—which means that the
            money would inure to West Bend’s benefit.
              Undisputed evidence establishes that the Bank failed
            to ask Belmont how the funds should be applied. 2010
            U.S. Dist. L EXIS 39318 (N.D. Ill. Apr. 21, 2010). But the
            district judge thought that a factual dispute remained:
            what would Belmont have said, had it been asked? If
            Belmont’s management would have told the Bank to
            use the checks for Gizynski’s benefit, then its failure
            did not harm Belmont, and West Bend lacks a claim
            against the Bank—though West Bend might well have
            a claim against Gad or Gizynski for diverting funds in
            which West Bend had a superior interest. The judge
            directed the parties to present evidence about how
            Belmont would have replied to a query from the Bank.
            Gizynski testified that Gad, as CEO, would have told
            the Bank to do whatever Gizynski wanted. The judge
            found Gizynski not credible about this or much of any-
            thing else. But disbelieving Gizynski does not neces-
            sarily imply the opposite of his statements. Since Gad
            has absconded, that left the record essentially blank.
               The judge held that West Bend, as the plaintiff, has the
            burden of production and the risk of non-persuasion.
            The court relied not only on the normal rules of civil
            litigation but also on Travelers Casualty & Surety Co. v.
            Wells Fargo Bank N.A., 374 F.3d 521 (7th Cir. 2004), which
            placed these burdens on the plaintiff in a fraudulent-
            check case. Because disbelief of Gizynski does not dem-
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            onstrate what Gad would have said, had he been asked,
            the district court entered judgment for the Bank. 2011
            U.S. Dist. L EXIS 23329 (N.D. Ill. Mar. 8, 2011).
               In this court, West Bend tries to sidestep the
            evidentiary problem by contending that the Bank had
            a duty to open a new account in Belmont’s name
            and deposit the checks there, keeping the money on
            ice until it received further instructions. Then Belmont’s
            silence would mean that the money remained available
            to its creditors. One problem with this position is lack of
            a source in Article 3 of the Uniform Commercial Code,
            which governs banking transactions, or any Illinois deci-
            sional law. We said in Mutual Service Casualty that
            Illinois requires the drawee to ask the drawer, not to
            open a new account. No state decision has suggested
            otherwise in the twelve years since. Federal courts in
            diversity litigation try to predict how the state judiciary
            will rule. Having made a prediction in Mutual Service
            Casualty, we stand pat unless the state appears restive.
            West Bend does not rely on any state decision for its
            “open an account and wait” proposal. If it wanted to
            seek a change in state law—or to ask the state judiciary
            to declare that Mutual Service Casualty misunderstood
            Illinois law—West Bend should have sued in state court.
              Under the UCC, a depositary bank’s duty when
            receiving a check naming itself as payee—when the
            depositary is not the drawer’s creditor and so cannot
            apply the funds to its own benefit—is to follow
            the drawer’s instructions. Gizynski insists that those in-
            structions were (or would have been) to pay him; dis-
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            credit Gizynski (as the district judge did) and the record
            is silent. A plaintiff loses when the facts cannot be ascer-
            tained.
              West Bend contends that Deland v. Dixon National Bank,
            111 Ill. 323 (1884), puts the burdens of production and
            persuasion on the Bank, but that decision long predates
            the UCC and dealt with events distinct from the
            depositary-bank-as-payee situation that we addressed
            in Mutual Service Casualty. Opinions from the nineteenth
            century do not justify upsetting decisions we issued in
            2001 and 2004. (West Bend also cites cases that Illinois
            decided in 1896, 1922, and 1926—yet nothing more recent.)
              At the end of its brief West Bend cursorily ad-
            vances what had been its principal contention in the
            district court: that §5 of the Uniform Fiduciaries Act,
            760 ILCS 65/5, makes the Bank liable because it was
            Gizynski’s creditor. The section provides in part: “If [a
            check] is payable to a personal creditor of the [drawer’s]
            fiduciary and delivered to the creditor in payment of
            or as security for a personal debt of the fiduciary to
            the actual knowledge of the creditor, or is drawn and
            delivered in any transaction known by the payee to be
            for the personal benefit of the fiduciary, the creditor
            or other payee is liable to the principal if the fiduciary
            in fact commits a breach of his obligation as fiduciary
            in drawing or delivering the instrument.” West Bend
            contends that Gizynski was Belmont’s fiduciary and
            committed a breach of his fiduciary obligations when
            issuing the checks for his own benefit.
             Trying to demonstrate a breach of fiduciary duty by
            Gizynski would give West Bend the same sort of problem
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            we have been addressing: Gizynski says that he was
            an authorized recipient of rent money, and no one has
            contradicted him. The district court did not reach
            this issue, however, concluding instead that Gizynski
            was not Belmont’s fiduciary. By the time he cut the
            checks, he was neither an investor (having sold all of his
            stock to Gad) nor a manager. He retained authority to
            sign Belmont’s checks (Gad may have overlooked the
            need to cut him off after the sale of stock), but the
            district judge thought signing authority a ministerial
            rather than a fiduciary position.
              Section 1 of the Uniform Fiduciaries Act defines “fidu-
            ciary” to include “a trustee under any trust, expressed,
            implied, resulting or constructive executor, admin-
            istrator, guardian, conservator, curator, receiver, trustee
            in bankruptcy, assignee for the benefit of creditors,
            partner, agent, officer of a corporation, public or
            private, public officer, or any other person acting in
            a fiduciary capacity for any person, trust or estate.”
            760 ILCS 65/1(1). This is regrettably circular (a fiduciary
            is a person “acting in a fiduciary capacity”), but the
            idea seems to be that a fiduciary is a person with discre-
            tion to act on a principal’s behalf. Gizynski did not
            have discretion to decide which of Belmont’s debts
            would be paid. If Gizynski cut the checks without au-
            thority, then he was a thief or embezzler, but it is
            possible to misappropriate money without being a fidu-
            ciary. A bank guard is not the bank’s “fiduciary” just
            because he knows the combination to its safe or can
            scoop money from the tellers’ drawers.
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              West Bend maintains that anyone authorized to sign
            a business’s checks must be its fiduciary. It relies princi-
            pally on Prodromos v. Everen Securities, Inc., 341 Ill. App. 3d
            718 (2003), yet that decision has nothing to do with check-
            signing authority. We have searched in vain for a deci-
            sion in Illinois or anywhere else holding that everyone
            authorized to sign a check is a fiduciary for the pur-
            pose of the Uniform Fiduciaries Act. And the district
            court added that the Bank would be protected by §9 of
            that Act, 760 ILCS 65/9, because it lacked actual knowl-
            edge that Gizynski was not entitled to the money. See
            Johnson v. Citizens National Bank of Decatur, 30 Ill. App. 3d
            1066, 1070–72 (1975).
              We turn to Banco Popular’s cross-appeal. After West
            Bend obtained its judgment and issued a citation to
            discover assets (which created a lien on Gizynski’s
            funds, see 735 ILCS 5/2–1402(m)(1) and In re Porayko,
            No. 12-2777 (7th Cir. Jan. 28, 2013)), the Bank received
            about $62,000 from one of Gizynski’s accounts. The
            money represented rents from some of Gizynski’s
            other tenants. As we have mentioned, the Bank had a
            security interest not only in the real estate but also
            in the rental payments. But it did not enforce a direct-
            payment system or appoint a receiver to collect the
            rents on its behalf. That’s why some rental money
            flowed through Gizynski’s account. Both Gizynski and
            the Bank ignored West Bend’s citation to discover assets
            (though copies had been served on each) when dealing
            with the rentals. Banco Popular contends that its
            security interest is senior to West Bend’s lien—and, if so,
            then the Bank keeps the money—but the district court
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            held that a security interest in rents can be perfected
            only through possession, so that West Bend has the
            senior claim. The district court directed the Bank to turn
            these funds over to West Bend. Order of March 24,
            2011, revising a decision reported at 2010 U.S. Dist.
            L EXIS 136267 (N.D. Ill. Dec. 23, 2010).
              An assignment of future rental payments is outside
            the scope of the Uniform Commercial Code, see UCC
            §9–109(d)(11), but at common law still creates a security
            interest. See Bloomfield State Bank v. United States, 644
            F.3d 521 (7th Cir. 2011). The Bank’s interest is senior to
            West Bend’s because an assignment is perfected on
            recordation. See Travelers Insurance Co. v. First National
            Bank of Blue Island, 250 Ill. App. 3d 641 (1993). The
            Bank’s problem is a further rule of Illinois law: when
            rentals are paid directly to the debtor, the security
            interest evaporates. See Fidelity Mutual Life Insurance
            Co. v. Harris Trust & Savings Bank, 71 F.3d 1306, 1309
            (7th Cir. 1995) (Illinois law); In re Wheaton Oaks Office
            Partners L.P., 27 F.3d 1234, 1244–45 (7th Cir. 1994) (Illinois
            law). To take full advantage of an assignment, a creditor
            must arrange for the tenants to pay it directly through
            a lockbox, or for a third party such as a receiver to
            take possession for the lender’s benefit. See Comerica
            Bank–Illinois v. Harris Bank Hinsdale, 284 Ill. App. 3d
            1030, 1035 (1996). When as in Bloomfield State Bank the
            dispute concerns the priority of interests in rent not
            yet due, the status of rentals in the debtor’s possession
            is unimportant; but here the only sums in dispute are
            those that found their way into Gizynski’s hands
            before being applied to his loans at the Bank.
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              The Bank believes that the rule abrogating its security
            interest to the extent that rents come into the debtor’s
            possession makes little sense. Perhaps that’s so, though
            the limitation might reflect the fact that, once funds
            become commingled, third parties lack notice of the
            security interest. Our opinion in Fidelity Mutual pro-
            vides some background about the doctrine’s origins. 71
            F.3d at 1309–10. See also Julia P. Forrester, Still Crazy
            after All These Years: The Absolute Assignment of Rents in
            Mortgage Loan Transactions, 59 Fla. L. Rev. 487 (2007). But
            in diversity litigation it is enough to understand what
            state law is; if the doctrine reflects a compromise that
            leaves everyone puzzled and frustrated (as compromises
            often do), still the federal court’s job is implementa-
            tion rather than revision. Litigants that want a court to
            make an adjustment in a doctrine of state law are
            wasting their breath asking for relief from the federal
            judiciary.
              Illinois provides that a person who transfers funds
            in violation of the lien created by a citation to discover
            assets can be ordered to pay costs. See 735 ILCS
            5/2–1402(h). That rarely matters to federal litigation,
            where losing litigants normally pay the winner’s costs.
            See Marx v. General Revenue Corp., No. 11-1175 (U.S.
            Feb. 26, 2013); Fed. R. Civ. P. 54(d)(1). A provision
            for attorneys’ fees can have a greater effect, because
            in diversity litigation state law governs this subject.
            The standby American Rule, under which the parties
            bear their own legal expenses, applies only when state
            law and the parties’ agreement are silent.
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               The district court ordered the Bank to pay West
             Bend’s costs in connection with the proceeding to
             recover the $62,000 in rentals. But the actual award in-
             cludes about $8,000 in attorneys’ fees as well as costs.
             Subsection 1402(h) does not authorize awards of legal
             fees. Such an award depends on §5/2–1402(f)(1), which
             permits a court to treat evasion of the citation as a form
             of contempt. Mid-American Elevator Co. v. Norcon, Inc.,
             287 Ill. App. 3d 582, 591 (1996), holds that a court
             may award attorneys’ fees as part of the penalty under
             §5/2–1402(f)(1). (That is the current statute; Norcon dis-
             cussed its predecessor, but this aspect of the law did not
             change.) The district court referred to subsection (f)(1)
             but did not find that the Bank had contumaciously
             evaded the citation. To the contrary, it wrote: “West
             Bend has not demonstrated, and the Court . . . cannot
             find, that Gizynski’s conduct rose to the level of con-
             tempt.” If Gizynski did not engage in contempt by
             turning rentals over to the Bank, it is hard to see how the
             Bank could have engaged in contempt by using the
             money to reduce the balance on Gizynski’s loan. For
             all we can see, the Bank believed honestly—though
             mistakenly—that its security agreement gave it a
             claim superior to West Bend’s.
                The order requiring the Bank to pay West Bend’s
             legal fees is reversed. The remainder of the judgment
             is affirmed.




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